             Case:23-13762-JGR Doc#:1 Filed:08/23/23                                  Entered:08/23/23 08:33:04 Page1 of 59


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sam's Service Co

2.   All other names debtor
     used in the last 8 years     DBA Sam's Automotive
     Include any assumed          DBA Sam's Auto Body
     names, trade names and       DBA Sam's Automotive Recon Center
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1314 W Oxford Ave                                               PO Box 2065
                                  Englewood, CO 80150                                             Englewood, CO 80150
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Arapahoe                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.takeittosams.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Sam's Service Co                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7532

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Sam's Service Co                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Sam's Service Co                                                          Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Sam's Service Co                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 23, 2023
                                                  MM / DD / YYYY


                             X /s/ Michael T. Chavez                                                      Michael T. Chavez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Aaron A. Garber                                                         Date August 23, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aaron A. Garber 36099
                                 Printed name

                                 Wadsworth Garber Warner Conrardy, P.C.
                                 Firm name

                                 2580 West Main Street
                                 Suite 200
                                 Littleton, CO 80120
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-296-1999                  Email address      agarber@wgwc-law.com

                                 36099 CO
                                 Bar number and State




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                                             Sam's Automotive
                                                   Profit and Loss
                                                January - March, 2023


                                                                                                             TOTAL
Income
Total Income
GROSS PROFIT                                                                                                   $0.00
Expenses
 70000 ADVERTISING                                                                                           566.00
 70200 AUTO & TRUCK EXPENSE                                                                                 1,160.57
 71000 ADP Payroll Fees                                                                                     4,422.25
 71400 DUES & SUBSCRIPTIONS                                                                                 1,266.80
 71600 INSURANCE – GROUP LIFE                                                                               5,258.55
 71800 INSURANCE – HOSPITALIZATION                                                                          6,203.46
 72200 INSURANCE – PROPERTY                                                                                19,166.79
 73000 LEGAL & AUDITING                                                                                     1,530.00
 73500 OFFICE SERVICES                                                                                       289.62
 73600 POSTAGE & FED EXPRESS                                                                                   12.00
 73700 BANK CHARGES                                                                                          230.60
 75400 TELEPHONE                                                                                            2,513.01
 76000 Utilities                                                                                           19,288.26
Total Expenses                                                                                            $61,907.91
NET OPERATING INCOME                                                                                  $ -61,907.91
Other Income
 80000 RENTAL PROPERTY INCOME                                                                                800.00
 81000 INTEREST INCOME                                                                                         55.80
 84000 MISCELLANEOUS INCOME                                                                                40,000.00
Total Other Income                                                                                        $40,855.80
Other Expenses
 91000 INTEREST EXPENSE                                                                                   102,834.82
Total Other Expenses                                                                                  $102,834.82
NET OTHER INCOME                                                                                      $ -61,979.02
NET INCOME                                                                                           $ -123,886.93




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                                              Sam's Automotive
                                                    Balance Sheet
                                                   As of June 6, 2023


                                                                                                             TOTAL
ASSETS
 Current Assets
 Bank Accounts
  10000 Cash on Hand                                                                                            0.00
  10104 Bank of the West                                                                                        0.00
  10109 BOK Checking                                                                                   -23,401.65
  10409 BOK Savings                                                                                           71.44
 Total Bank Accounts                                                                                  $ -23,330.21
 Accounts Receivable
  12000 ACCOUNTS RECEIVABLE                                                                                     0.00
 Total Accounts Receivable                                                                                    $0.00
 Other Current Assets
  13101 W.I.P. PARTS                                                                                            0.00
  13102 W.I.P. LABOR                                                                                            0.00
  13200 INVENTORY – MATERIAL & SUPPLIES                                                                         0.00
  13300 INVENTORY – G.O.G.                                                                                      0.00
  14100 PREPAID INTEREST                                                                                   85,037.63
  14300 Prepaid Deposits                                                                                        0.00
  Costs for Sale of Oxford                                                                                      0.00
  Employee A/R
   1250-Marie M Chavez                                                                                          0.00
   1253-Michael T Chavez                                                                               152,385.12
   2550-Larry R Olander                                                                                257,888.52
   Alex Grassmann Emp A/R                                                                                       0.00
   Andrew Augustine Emp A/R                                                                                     0.00
   Antonio Villalpando Emp A/R                                                                                  0.00
   Austin Abeyta Emp A/R                                                                                        0.00
   Cody White Emp A/R                                                                                           0.00
   Dana Lucero Emp A/R                                                                                          0.00
   Daniel Trevino Emp A/R                                                                                       0.00
   Dennis Manyik Emp A/R                                                                                        0.00
   Gerry Dreher Emp A/R                                                                                         0.00
   Jorge Ochoa Emp A/R                                                                                          0.00
   Karen Wagner Emp A/R                                                                                    -2,700.00
   Ken White JR A/R                                                                                             0.00
   Ken White Sr Emp A/R                                                                                         0.00
   Lance Parness Emp A/R                                                                                        0.00
   Luis Suazo Machado A/R                                                                                       0.00
   Mark Haley A/R                                                                                               0.00
   Michael Montoya Emp A/R                                                                                      0.00




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                                                  Sam's Automotive
                                                        Balance Sheet
                                                       As of June 6, 2023


                                                                                                               TOTAL
Milton Machado A/R                                                                                               0.00
Sebastian Zubia Emp A/R                                                                                          0.00
Stephanie Corbett Emp A/R                                                                                        0.00
Steve Petsch - A/R                                                                                               0.00
Trent Allen Emp A/R                                                                                              0.00
Vince Rivera A/R                                                                                               -38.42
Total Employee A/R                                                                                         407,535.22
Employee Benefits Cost                                                                                           0.00
2020-2021 Benefits Alex Grassmann                                                                                0.00
2020-2021 Benefits Andrew Augustine                                                                              0.00
2020-2021 Benefits Antonio Villalpando                                                                           0.00
2020-2021 Benefits Cody White                                                                                    0.00
2020-2021 Benefits Dana Lucero                                                                                   0.00
2020-2021 Benefits Dennis Manyik                                                                                 0.00
2020-2021 Benefits Dennis Osentoski                                                                              0.00
2020-2021 Benefits Dietrich Meier                                                                                0.00
2020-2021 Benefits Don Walter                                                                                    0.00
2020-2021 Benefits Gerald Dreher                                                                                 0.00
2020-2021 Benefits Joe Griego                                                                                    0.00
2020-2021 Benefits Jorge Ochoa Jr                                                                                0.00
2020-2021 Benefits Ken White Jr                                                                                  0.00
2020-2021 Benefits Ken White Sr                                                                                  0.00
2020-2021 Benefits Kevin McGeeney                                                                                0.00
2020-2021 Benefits Lance Parness                                                                                 0.00
2020-2021 Benefits Luis Suazo                                                                                    0.00
2020-2021 Benefits Mark Haley                                                                                    0.00
2020-2021 Benefits Michael Montoya                                                                               0.00
2020-2021 Benefits Richard Miller                                                                                0.00
2020-2021 Benefits Sandi Peters                                                                                  0.00
2020-2021 Benefits Sean McGeeney                                                                                 0.00
2020-2021 Benefits Sebastian Zubia                                                                               0.00
2020-2021 Benefits Stephanie Corbett                                                                             0.00
2020-2021 Benefits Steve Petsch                                                                                  0.00
2020-2021 Benefits Trent Allen                                                                                   0.00
2020-2021 Benefits Vince Rivera                                                                                  0.00
Austin Abeyta Employee Benefit Share                                                                             0.00
Kevin Lenzotti Employee Benefit Share                                                                            0.00
Milton Machado                                                                                                   0.00
Milton Machado Employee Benefit Share                                                                            0.00
Scott Morrison Employee Benefit Share                                                                            0.00




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                                                  Sam's Automotive
                                                        Balance Sheet
                                                       As of June 6, 2023


                                                                                                                 TOTAL
  Total Employee Benefits Cost                                                                                      0.00
  Parkinson Settlement                                                                                              0.00
  Refinance - Kresher                                                                                               0.00
  Undeposited Funds                                                                                                 0.00
 Total Other Current Assets                                                                               $492,572.85
 Total Current Assets                                                                                     $469,242.64
 Fixed Assets
 15000 LAND                                                                                                    88,180.87
 16000 BUILDINGS                                                                                         2,220,974.45
 16005 ACCUM DEPR – BLDGS                                                                                -2,009,001.24
 16100 MACHINERY & EQUIPMENT                                                                               945,585.92
 16105 ACCUM DEPR-MACH & EQUIP                                                                            -831,432.78
 16200 OFFICE FURN-EQUIP & SIGN                                                                            294,515.22
 16205 ACCUM DEPR-FURN & EQUIP                                                                            -285,372.62
 16300 COMPANY VEHICLES                                                                                    322,908.59
 16305 ACCUM DEPR-CO VEHICLES                                                                             -316,044.39
 Total Fixed Assets                                                                                       $430,314.02
TOTAL ASSETS                                                                                              $899,556.66

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   20000 ACCOUNTS PAYABLE                                                                                           0.00
  Total Accounts Payable                                                                                          $0.00
  Credit Cards
   BOK Financial                                                                                               10,294.25
  Total Credit Cards                                                                                       $10,294.25
  Other Current Liabilities
   22000 SALES TAX PAYABLE (ALL)                                                                                    0.00
   24000 ACCR TX-RL ESTATE & PERSON PRPTY                                                                      96,519.88
   24200 401K PENSION PROGRAM                                                                                       0.00
   24300 CUSTOMER DEPOSITS                                                                                          0.00
   BlueVine Line of Credit                                                                                 -51,254.46
   Colorado Department of Revenue Payable                                                                           0.00
   Colorado, Englewood Payable                                                                                      0.00
   Fora Financial - Temp financing                                                                         264,700.76
   SBA Loan-PPP                                                                                                     0.00
  Total Other Current Liabilities                                                                         $309,966.18
 Total Current Liabilities                                                                                $320,260.43




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                                                     Sam's Automotive
                                                           Balance Sheet
                                                          As of June 6, 2023


                                                                                                                   TOTAL
 Long-Term Liabilities
  20001 ACCRUED PAYABLES                                                                                             0.00
  25200 NOTES PAY – EQUIPMENT                                                                                     8,980.74
  26400 N/P – TREAS STOCK                                                                                            0.00
  26401 N/P – BOK                                                                                                    0.00
  First Data Advance on Merchant                                                                                     0.00
  Kreshner Loan eff 9.30.22 12 months                                                                       2,800,000.00
  PPP Loan 2021 - 2nd Draw                                                                                           0.00
  SBA EIDL Loan                                                                                               137,573.00
 Total Long-Term Liabilities                                                                               $2,946,553.74
 Total Liabilities                                                                                         $3,266,814.17
 Equity
 29000 COMMON STOCK                                                                                            35,000.00
 29005 TREASURY STOCK                                                                                        -685,115.00
 29100 Retained Earnings                                                                                   -1,568,478.29
 Opening Balance Equity                                                                                              0.00
 Net Income                                                                                                  -148,664.22
 Total Equity                                                                                             $ -2,367,257.51
TOTAL LIABILITIES AND EQUITY                                                                                 $899,556.66




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                                                                                                                                                                                  671121
                                                                                                       n    F,nalK-1               n   Amended K-1                        0MB No. 1545-0123
Schedule K-1
                                                                           2022 , fRart IJf·· j Sha·reh�ict•rs.Share of:Clirt;nt,:tea"t7ln,0)9J!;
(Form 1120-S)                                                                     . .           Dedu.ctto"9, c--lte,. a11il oth)r.ltems •
Department of the Treasury                             For calendar year 2022, or tax year         1       Ordinary business income (loss)           13    Credijs
lntemel Revenue Service
                                                                                                                              (958 444)
          beginning                   2022              ending                                     2       Net rental real estate income (loss)

Shareholder's Share of Income, Deductions,                                                         3       Other net rental income (loss)
Credits, etc.              See separate lnstructlon1.

 l,P._rt I I info��,on :Ab.out<U(e OOrporatl!)fl -
                                                                                                   4       Interest Income
                                                                                              I
                                                                                                                                   5 417
 A    Corporation's employer identif1eation number                                                 5a Ordinary dividends
      XX-XXXXXXX
                                                                                                   5b Qualified dividends                            14
                                                                                                                                                                                                  n
 B    Corp0(11tion's name, address. city, state, and ZIP code                                                                                              Schedule K-3 is attached if
      SAM'S SERVICE COMPANY                                                                                                                                checked    •   •   •   •   •   I   f



                                                                                                   6       Royalties                                 15    Metnative m111imum tax (AMT} Hems

      1314 WEST OXFORD AVENUE
                                                                                                   7       Net short-term capital gain (toss)
      ENGLEWOOD                                              co      80110
 C    IRS Center where corporation filed return                                                    aa Net long.term capital gain (loss)
      Orrden
 D    Corporation's total number of shares                                                         8b Collectibles (28%) gain (loss)
         Beginning of tax year                                                    100
         End of tax year     ..                                                   100              8c; Unrecaptured section 1250 gain


 I Part·IJ I Information About ttit Shateholder                               -   -   ...
                                                                                                   9       Net section 1231 gain (loss)
                                                                                                                               (45,151)
                                                                                                                                                     16    nems affecting shareholder basis


 E    Shareholder's identifying number                                                            10       Other income (loss)


 F    Shareholder's name, address, city, state. and ZIP code
      MICHAEL CHAVEZ


      4901 S WADSWORTH BLVD UNIT 32
      Littleton                                              co      80123

                                                                                                                                                     17    Other information
 G    Current year alloc;ation percentage    '   � . . . .             66.66700 %                                                                 A                                   5,417
                                                                                                  11       Section 179 deduction
 H    Shareholder's number of shares                                                                                                              AC                      2,309,283
        Beginning of tax year                                                         67          12       Other deductions
        End of tax year      ..                                                       67

 I    Loans from shareholder                                                                                                                      V*              STMT
        Beginning of tax year                            $
         End of tax year • • •                           $




 u.
                                                                                                  ,. I
                                                                                                  1t
                                                                                                              More than one activity for at-risk purposes•
                                                                                                              More than one activity for passive activity purposes•


                                                                                                              • See attached statement for additional information.


For Paperwork Reduction Act Notlc.e, see the Instructions for Form 1120-S.                  www.1rs gov/Form1120S                                         Schedule K-1 (Form 1120-S) 2022
EEA
                                    Case:23-13762-JGR Doc#:1 Filed:08/23/23                              Entered:08/23/23 08:33:04 Page17 of 59
                                                    STATEMENT A - QBI Pass-through Entity Reporting
                                                            Information Reported in Accordance with Section 199A�
                                                                             Schedule K-1, Line 17, Code V
                                                            (This page is e-filed with the retum. Include it if paper-filing.)                                      2022
Name(s) as shown on return                                                                                                                                      Tax ID Number
 SAM'S SERVICE COMPANY                                                                                                                                          XX-XXXXXXX
Name(s) as shown on K1                                                                                                                                          Tax ID Number
 MICHAEL CHAVEZ
                                                                                                                                     Taxpayer Identification

                                         ·-
   Line No.    Description of Trade or Business                                                                                            Number                   PTP         Aggregated       SSTB
     1        .,...v, �      ..,   ·w         T                                                                                    A4-""' "? """                                             ..,_




  LINE NUMBER                            NO• ..1_             NO.                           NO.   -                          NO.   -                      NO.   -                      NO.   -
Ordinary Business
Income (loss)                           (958,444)

 Rental Income (Loss)

 Royalty Income (loss)

 Section 1231 Gain (Loss)                (45,151)

 01her Income (Loss)

Section 179

01her Deductions

W-2Wages                                517,123
Unadjusted Basis
Immediately After                   2,522,669
Amuisition
 Section 199A Dividends




K1_QBIS-.LD
   Case:23-13762-JGR Doc#:1 Filed:08/23/23 Entered:08/23/23 08:33:04 Page18 of 59
Shareholder's Basis Worksheet Prepared from the S Corporation Records
Basis is reported on Fonn 7203 and must be detennined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2022
 Shareholder Number.                        ITIN:                                                                     I Tu year ending: 12-31-2022       Owne,.hlp %:   66.667000
 Shareholder Name:                MICHAEL CHAVEZ
 Corporadon Name:                 SAM'S SERVICE COMPANY                                                                                                  BN     XX-XXXXXXX
                              Stock basis
 1        Stock basil. beginning of year (NOi ieas than zero)
 2        Additional Capttal Contributions of Sloclc Pur<:ha•ad                                                                               2
 3        lncrea1es for Income llfld gain items:
           a     Ordinary Income                                           {Sch K-1, Una 1)                   a
           b      Real Estate Rental Income                                (Sch K-1, Lina 2)                  b
           e      Other Ranta! Income                                      {Sch K-1, Una 3c)                  C

           d     lntareal, Dividends & Royall,es                           {Sch K-1, Une1 4, 5 & 6)           d             5,417
           a     Capital Gai n                                             (Sch K-1, Line• 7 & Ba)            a
                 Other Portfolio Income                                    (Sch K-1, Line 10a)
           g     SKtion 1231 Gain                                          (Sm K-1, Lina 9)                   g
           h     Other Income                                              (Sd'I K-1. Lina 10)                h
                 TotalIncome and Gain Iiams                                (Total tines 3a-3h)                                                        5,417
           i     Increase for Non,Taxal:lle Income                         (Sch K-1, Lines 16a & b)                                         3i

           j      Increase for Excess Depletion Adjuslment                                                                                  3j
           k     Increase from Recapture of Business Cradila (Seo IRC § 49(a), 50(a), 50(e)(2) & 1371(d))                                   3k     --------
                 Gain from 179 &1sat d.sposit1on                                                                                            31
4         Stock Basie Before D,IIVibutlOnl                                 (Add lines 1 through 3)                                                                      5 .;;.4,;;;,l -'-
                                                                                                                                                                  ◄ ___;;..<.,.       7
 5        Raduclion for Non-Taxable llislribulions                         (Sch K-1. Line 16d)                                                                    s ________
                                                                                                                                                                             ....:;5_,_,_4_17
                                                                                                                                                                                            �
                                                                                                                  --------
 6        Stock Basia Before Non-Dad. ExpenM & Deplation                   (Camol be negative)                                                                    6 ___
7a        Oeerease for Non-Deductible ExpenHI/Credil Adj                   {Sch K-1. Lina 16c & 13)
 b        Oeereasa for Depletion                                           (Sch K•1, Line 17r)                    --------
                                                                                                                  b                                               1 ________
 8        Stock Basia Before Allowable Lossa, & Deductions                 (Camol be negative)                                                                    8 ___      ....:;5__.,_4.;._____
                                                                                                                                                                                          17
 9        Decreases tor Loss and Oodudion llama
           a     Ordinary Losa                                             (Page 2, Cole, Lina 9a)            a ____        s_.,_2_6_7
                                                                                                                  --------
                                                                                                                  --------
           b     Raal Estate Rental LOIS                                   (Page 2, Cole, Line 9b)            b
           c     Other Rental Loss                                         (Page 2, Cole, Line 9c)

                                                                                                                  --------
                                                                                                                  --------
           d     Cepilal Losa                                              (Page 2, Col•• Lna 9d)
           •     Other Portfolio LOIi                                      (Page 2, Cole. Line 9a)
                 Section 1231 Los1                                        (Page 2, Col•• Lne 9f)                        146
           g     Other Loss                                                !Page 2, Cole, Lina 9g)
                                                                                                              g _________
           h     Charitable Cont/ibulions                                  (Page 2, Cot e, Line 9h)           h   --------5
                 Section 179 Ei<pense                                      (Page 2, Col a, Line 9i)
                 Portfolio Income E><l)eNes                                (Page 2, Col e, Lina 9j)
           k     Other Deductions                                          (Page 2, Col a, Line 9k)           k ________
                 lnt8f8Sl E,cpensa on Investment Debi                      (Page 2, Col a, Line 91)
           m Total Foreign Texas Paid/Acctuad                              (Page 2, Col a, Lina 9m)           m ________
           n     Section 59(e) E>pendilutea                                (Page 2, Col a, Lina 9n)           n
                 Total Loss and Deduclion items                            (Total Linea 9a-9n)                                             9aofl       5,418
           o     Other decteases                                           (Paga 2, Col a, Lina 9o)                                         90

           p     Lou from 179 asael disposnion                             (Page 2, Col a, Lina 9n)                                         9p
                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9           5,418
     1 O Less: net increase applied to debt basis                                                                                                                10
     11 Stock Basis al End of Year (Cannot be negative)                                                                                                          11
                             Debt Baals
     12        Oabl basis at beginning of yea, (not less than zero)                                                                          12

     13        New loans to corp0re1ion during year                                                                                           13
     14        Restoration of Debi Basil (line 10)                                                                                            14

     15        Less: Loana repaid by corporation during the yea,                                                                              15
     16        Lesa: Applied against e.cess loss and deductions I non-deductible �ems                                                         16
     17        Dobl basis al Iha end of la.yea, (combine Ines 12-16) (not less than -o)                                                                          17

     18        Shareholde(s total basil 81 end of tax year (combine line, 11 and 17)                                                                             18
                             Carryover                                                              Total                  Debt Basil Applied
                                                                                                 Disallowed                  Against E>cceas
                                                                                                   Losses                 Losses and Deductions

     19        Total Bagiming of year                                                        680,383
     20        Add:    Losees and daducliona this year                                     1,003,595
     21        L8$S:    Applied lhis year                                                      5,418
     22        End of year (Nollass lhan zero)                                             1,678,560                                                                       WK_SBAS.LD
      Case:23-13762-JGR Doc#:1 Filed:08/23/23                                                           Entered:08/23/23 08:33:04 Page19 of 59
                                                                                                                                                                                           671121
                                                                                                             n    FinalK-1               n   Amended K-1                          0MB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                   2022 1�,I Paitliu.'I �hii'el}PJde. r:'� �hate-of.Cilrr.ent Year l"c9Ji�,
                                                                                                     DeduoCIPfflSl C�I.., andiotlitr items
                                                                                                                                                                                                               i


Department of the Treasu,y                                 For calendar year 2022, or tax year           1       Ordina,y business income (loss}           13    Credits
Internal Revenue Service
                                                                                                                                    {479.215)
          beginning                   2022                     ending                                    2       Net rental real estate Income �oss)

Shareholder's Share of Income, Deductions,                                                               3       Other net rental income (loss)
Credits, etc.
                      .. AJ,o�Uhe Co�rathm
                           See ■eparate Instructions-

� I i5art 1 I 1..-fo-:rnaflon                                                           1�('��           4       Interest income
                                                                           ~-     ·-   -            !                                    2,709
 A    Corporation's employer identification number                                                       5a Ordina,y dividends
      XX-XXXXXXX

                                                                                                                                                                                                           n
 B    Co rporation's name, address, city, state, and ZIP code                                            5b Qualified dividends                            14    Schedule K-3 is attached if
      SAM'S SERVICE COMPANY                                                                                                                                      checked      ■    ■   ■   0   I   I   ■




                                                                                                         8       Royalties                                 15    Alternalive minimum tax (AMT) �•ms

      1314 WEST OXFORD AVENUE
                                                                                                         7       Net short-term capital gain (loss}
      ENGLEWOOD                                                     co   80110
 C    IRS Center where corporation filed re!um                                                           8a Net long-term capital gain (loss}
      Oqdan
 D    Corporation's total number of shares                                                               8b Co llectibles (28%} gain (loss)
        Beginning of tax year                                                          100
        End of tax year       ..                                                       100               Be      Unreaiptured section 1250 gain

                       �
            I
.-!'Part II Uifonn.atlq" About the· Shareholder
                          -                                                       .        �-
                                                                                                         9       Net section 1231 gain Qoss)
                                                                                                                                     (22 575)
                                                                                                                                                           16    Items affecting shareholder basis


 E    Shareholder's identifying number                                                                  10       Other income (loss)


 F    Shareholder's name, address, city, state. and ZIP code
      LARRY OLANDER


      11972 CRABAPPLE
      Franktown                                                     co   80116

                                                                                                                                                           17    Other information
 G    Current year allocation percentage   •   •   •   •   •    p          33.33300             %                                                        A                                     2,709
                                                                                                        11       Section 179 deduction
 H    Shareholder's number of shares                                                                                                                     AC                       1,154,624
        Beginning of tax year                  ...                                      33              12       Other deductions
        End of tax year       . '     .         .                                       33

 I    Loans from shareholder                                                                                                                             V*             STMT
        Beginning of tax year                                   s
         End of tax year • • •                                  s




 u.                                                                                                     181
                                                                                                        19   H      More than one activity for at-risk purposes•
                                                                                                                    More than one ac!ivi!lr for passive activity pulJ)Oses'


                                                                                                                    • See attached statement for additional information-

For Paperwork Reduction Act NoUce, ■ee the Instructions for Form 1120-S.                        www.1rs.gov/Form1120S                                           Schedule K-1 (Form 1120-S) 2022
EEA
                             Case:23-13762-JGR Doc#:1 Filed:08/23/23                                               Entered:08/23/23 08:33:04 Page20 of 59
                                             STATEMENT A - QBI Pass-through Entity Reporting

                                                     " - - -- r -�- -- - ----- --·-. -- -- . ----... ...._._.,.._.. ..... ,.._.,..._. ..... •;,•,                                     2022
Name(s) as shown on return                                                                                                                                                        Tax ID Number
  SAM'S SERVICE COMPANY                                                                                                                                                            XX-XXXXXXX
Name(s) as shown on K1                                                                                                                                                            Tax ID Number
  LARRY OLANDER
                                                                                                                                                       Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                                               Number                  PTP         Aggregated       SSTB
     1         1cav•�
                                      ,...                                                                                                            A4-nc;�7909                                              Nn




  LINE NUMBER                   NO. .J..._              NO.     -                                 NO.     -                                     NO.   -                     NO.   -                      NO.   -
 Ordinary Business
 Income (Loss)                (479,215)

 Rental Income (Loss)

 Royalty Income (Loss)


 Section 1231 Gain (Loss)      (22,575)

 Other Income (Loss)


Section 179


 Other Deductions


W-2Wages                       258,558
 Unadjusted Basis
 Immediately After           1,261,315
 A=uisition

 Section 199A Dividends




K1_QBIS-,.LD
   Case:23-13762-JGR Doc#:1 Filed:08/23/23 Entered:08/23/23 08:33:04 Page21 of 59
Shareholder's Basis Worksheet Prepared from the S Corporation Records
Basis is reported on Form 7203 and must be determined al the shareholder level. Consult vour tax advisor.
                                                                                                                                                                              2022
 Sh■rllholdor Number:                                         I   TIN:        -         -                            I   Ta ,,.., ending:    12-31-2022         Owne111hlp %:   33.333 0 00
 Shareholder Name:                LARRY OLANDER 2
 Corporellon Name:                SAM'S SERVICE COMPANY                                                                                                         fJN      XX-XXXXXXX
                             Stock basis
          Stock basis. beginning of year (Not lass than zero)
 2        Additional Cepltal C ontributions of Slock Purchased                                                                                        2 ________
 3        Jraeases for Income and gain ilems:
           a     Ordinary Income                                            {Sch K-1. Line 1)                 a
           b      Real Ealata Rental Income                                 (Sch K-1. I.Jne 2)                b
           C      Othar Rantal lncoma                                       (Sch K-1. Line 3c)                e
           d      I111eres1, Dividends & Royame,                            (Sch K-1, Linea 4 5 & 6)          d                  2,709
           •      Capltal Gain                                              (Sch K-1, lines 7 & Ba)           •
                  Other Portfolio lnama                                     (Sch K-1. line 10a)
           g      Section 1231 Gain                                         (Sch K-1. Line 9)                 g
           h     Othar Income                                               {Sch K-1, line 10)                h
                 Total Income and Gain Items                                (Total ines 3a-3h)                                                     38-h ___2__.,�7_0_9
                 lncraase for Non-Taxable Income                            (Sch K-1, Linea 168 & b)                                                3i
                 lncraaae for Excess Depletion Adjuslment                                                                                           3j
           k     lncteaae from Recapture of Business Credits (See IRC § 49(a). SO(a), 50(c)(2) & 1371(d))
                                                                                                                                                    3k ________
                 Gain from 179 Hlel disposition                                                                                                     31
 4        Stock Ba1i1 Bef018 Distributions                                  (Add linll 1 tlvough 3)                                                                       4 ___        ..;;2'-',_7.;...0   9
                                                                                                                                                                                                       .;;..;;..
 5        Reduction for Non-Taxable Dalllbulions                            (Sch K-1, line 16d)                                                                           s ________
 6        Slod< Besi1 Befot8 Non-Ded. Expense & Depletion                   (Camol be negative)                                                                              6 _
                                                                                                                                                                                   __
                                                                                                                                                                                                    09
                                                                                                                                                                                       ..;.;2_.,_7_.;;..;;...
7a        Oacntase for Non-Deductible Expense/Credi! Adj                    (Sch t<-1. Line 18c& 13 )             a_______
                                                                                                                   .      _
 b        Oacntase for Depletion                                            (Seh K-1. Line 17r)                   b________                                               1 ________
 8        Stock Basi, Before Allowable Lones & Dadudions                    (Camot be negative)                                                                           8   ----=2�,...;7:....0�
                                                                                                                                                                                                 9
 9        Oacntase1 for Lou and Deduction ttems
           a     Ordinary Loss                                              (Page 2, Col e. Line 9a)          a   ---=2..1.(...;6:;._;3    4
                                                                                                                                      :c....::..
           b     Real Ealale Rental Loas                                    {Page 2, Col a Line 9b)           b ________
           c     Othar Rental Loss                                          {P age 2, Col e. Line 9c)
                                                                                                              c ________
           d     Capital Loss                                               (Paga 2. Col e, Line 9d)          d ________
           a     Other Portfolio Loss                                       (Page 2. Col •· Line 98)          a --------::--:-
                 Seclion 1231 Loss                                          (Page 2, Col o, Line 9f)                                     73
           g     Other Lon                                                  (Page 2, Col a, Lina 9g)          g
                                                                                                                ______--:-
           h     Charitable Contributions                                  (Page 2, Col e, Lina 9h)           h ______..;..3
           i     Seelion 179 Elcpenaa                                      (Paga 2, Col•• Lina 9i)
                 Portfolio Income Expenses                                 (Paga 2, Col a, Lina 9j)
           k     Other Oaduetiona                                          (Page 2, Col e. Line 9k)           k ________
                 Interest Expense on lnveSlmel11 Debt                       (Page 2, Col a, Line 91)
           m Total Foreign Taxes Paid/Accrued                               (Paga 2, Cole, Lina 9m)           m ________
           n     Section 59(e) ExpendiC1Jr11                               (Page 2, Col a, Lina 9n)               --------
                 Total Lo11 and Oeduclion Items                            (Total Lina• 9•9n)                                                      98-fl      2,710
           o     Other deaaase1                                            (Paga 2, Col e. Line 9o)                                                 90
           p     loss fr0f1\ 179 asset disposition                          (Paga 2, Col e. Line 9n)                                                9p
                 Total Oaaeasa for Lon and Deductions llams and Business Credits                                                                                          9
                                                                                                                                                                              ___
                                                                                                                                                                                                      �
                                                                                                                                                                                        ..;;2_.,_7"-'10
     10 Less: nal increase appliad to debt basis                                                                                                                         10     ____
                                                                                                                                                                              __     __
     11 Stoek Basia at End of Year (Cannot be n&jjeliva)                                                                                                                 11
                             Debt Basis
     12        Debi basis a1 beginning of year (nol len lhan zero)                                                                                    12
     13        New loans to corporation during year                                                                                                   13
     14        Resioration of Debt Basi• (Lina 10)                                                                                                   14
     15        Lan: Loans repaid by corporalion during Iha year                                                                                      15
     16        LB1S: Applied against ollCau Ion and dadudions / non-<laductibla Items                                                                16
     17        Debi basis at the end of tax yasr (combine lines 12-16) (not less than zero)                                                                              17 ___          _ __
                                                                                                                                                                                     _    _
     18        Shareholdef1 total basis at end of ta,c year (combine lines 11 and 17)                                                                                    1
                                                                                                                                                                             s ________
                             Carryover                                                               Total                      Debi Basis Applied
                                                                                                  Diaanowad                       Against Exoeu
                                                                                                    Losses                    Lossa, and Deductions

     19        Total Bagiming of year                                                             340,171
     20        Add:    Loases and deductions this year                                            501,790
     21        Less:    Applied this yell                                                           2,710
     22        End of year (Not leas than zero)                                                   839,251
                                                                                                                                                                                    Wt<_SBAS.LD
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       .
                                                      Summary of Stock Ownership                                               2022
                                       {This page is not filed with the return. U is for vour records only.)
CORPORATION NAME                                                                                                        EJN
SAM'S SERVICE COMPANY                                                                                                   XX-XXXXXXX
             Shareholder Information                                                              Shares                       %Ownel'9hlp

Name                                                        EINISSN           Type      Beginning              Ending     Beginning      Ending

MICHAEL CHAVEZ                                                                              66.67              66.67    66.66700       66.66700
LARRY OLANDER                                                                               33.33              33.33    33.33300       33.33300

Total                                                                                            100             100




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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 IN RE:                                     )
                                            )      Case No. 23-
 SAM’S SERVICE CO.                          )
 EIN: XX-XXXXXXX                            )      Chapter 11
                                            )      SubChapter V
     Debtor.                                )


      STATEMENT REGARDING SMALL BUSINESS FINANCIAL STATEMENTS

       The Debtor does not maintain a cash flow statement.

 Dated: August 23, 2023                     /s/ Michael Chavez
                                            Michael Chavez,
                                            Title: President



 Dated: August 23, 2023             WADSWORTH GARBER WARNER CONRARDY, P.C.

                                    By: /s/ Aaron A. Garber
                                            Aaron A. Garber #36099
                                            2580 West Main Street, Suite 200
                                            Littleton, CO 80120
                                            Telephone: (303) 296-1999
                                            Telecopy: (303) 296-7600
                                            Email: agarber@wgwc-law.com
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Fill in this information to identify the case:

Debtor name         Sam's Service Co

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 23, 2023                 X /s/ Michael T. Chavez
                                                           Signature of individual signing on behalf of debtor

                                                            Michael T. Chavez
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case:23-13762-JGR Doc#:1 Filed:08/23/23                                                                        Entered:08/23/23 08:33:04 Page31 of 59

 Fill in this information to identify the case:

 Debtor name            Sam's Service Co

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       13,615,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           351,635.19

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       13,966,635.19


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,869,949.78


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            67,741.42


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,937,691.20




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Sam's Service Co

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     BOK                                               Business Checking                     0796                                     $3,594.05



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $3,594.05
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                      142,106.58      -                          71,053.58 =....                                   $71,053.00
                                       face amount                          doubtful or uncollectible accounts


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
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Debtor       Sam's Service Co                                                                Case number (If known)
             Name




          11b. Over 90 days old:                      515,776.28        -                           257,888.14 =....                   $257,888.14
                                       face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                         $328,941.14
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

39.       Office furniture
          Desks, Chairs, File Cabinets                                                     $0.00      Liquidation                          $100.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Servers                                                                          $0.00      Liquidation                          $500.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $600.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       Sam's Service Co                                                          Case number (If known)
             Name



45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2003 Chevrolet Corvette; VIN
                   1G1YY32G635102247                                                 $0.00     Liquidation                           $18,500.00


          47.2.    Debtor has legal title and Larry Olander
                   has equitable title (2018 Chevrolet
                   Traverse; VIN: 1GNEVKKW9JJ174348;
                   Larry Olander has possession and
                   makes the montly payments of $926.00
                   on the 2018 Chevrolet Traverse) (Value
                   $21,000)                                                          $0.00     N/A                                         $0.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                       $18,500.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        Sam's Service Co                                                            Case number (If known)
              Name

           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1314 W Oxford Ave,
                    Engelwood, CO
                    80110
                    APN 2077-04-15-001
                    5.74 Acres Industrial                                               $0.00         Comparable sale              $13,500,000.00


           55.2.    Inn at Silvercreek
                    62927 US Hwy 40
                    Unit 304
                    Granby, CO
                    Parcel 145108310169                                                 $0.00         Liquidation                      $115,000.00




56.        Total of Part 9.                                                                                                      $13,615,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademark
           Sam's Since 1946                                                             $0.00         N/A                                Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 4
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Debtor        Sam's Service Co                                                             Case number (If known)
              Name


              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                     Current value of
                                                                                                                     debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           Ohio Life Insurance for Michael T Chavez Larry Olander                                                                    $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                       $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                page 5
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Debtor          Sam's Service Co                                                                                    Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $3,594.05

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $328,941.14

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $600.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $18,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $13,615,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $351,635.19           + 91b.           $13,615,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,966,635.19




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6
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Fill in this information to identify the case:

Debtor name         Sam's Service Co

United States Bankruptcy Court for the:           DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   1314 W Oxford Ave LLC                        Describe debtor's property that is subject to a lien               $3,172,000.00           $13,500,000.00
      Creditor's Name                              1314 W Oxford, Englewood Co
      c/o Kresher Capital
      333 SE 2nd Ave, #3588
      Miami, FL 33131
      Creditor's mailing address                   Describe the lien
                                                   Deed of Trust
                                                   Is the creditor an insider or related party?
      jeff@kreshercapital.com                         No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      11/1/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      ford
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Arapahoe County
2.2                                                Describe debtor's property that is subject to a lien                   $92,504.46          $13,500,000.00
      Treasurer
      Creditor's Name                              1314 West Oxford, Englewood, Colorado
                                                   80110,
      5334 S Prince St
      Littleton, CO 80120
      Creditor's mailing address                   Describe the lien
                                                   2022 Real Property Tax
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      7/2023                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9757,0416
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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Debtor      Sam's Service Co                                                                      Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Arapahoe County
2.3                                                                                                                          $7,286.48     $4,194.05
      Treasurer                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             Substantially all asserts
      5334 S Prince St
      Littleton, CO 80120
      Creditor's mailing address                  Describe the lien
                                                  Personal Property Tax
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2023                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9757,0416
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Blue Vine                                   Describe debtor's property that is subject to a lien                      $59,787.28   $351,635.00
      Creditor's Name                             substantially all of debtor's assets
      30 Montgomery Street
      Suite #1400
      Jersey City, NJ 07302
      Creditor's mailing address                  Describe the lien
                                                  Secured Loan
                                                  Is the creditor an insider or related party?
      support@bluevine.com                           No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   FinishMaster, Inc.                          Describe debtor's property that is subject to a lien                     $136,878.18   $351,635.00
      Creditor's Name                             substantially all of debtor's assets
      115 West Washington
      Street
      Suite 700 South
      Indianapolis, IN 46204
      Creditor's mailing address                  Describe the lien
                                                  Secured Loan

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 4
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Debtor      Sam's Service Co                                                                      Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      July 1, 2019                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Fora Financial                              Describe debtor's property that is subject to a lien                     $261,137.66         $0.00
      Creditor's Name                             a/r
      1385 Broadway 15th Floor
      New York, NY 10018
      Creditor's mailing address                  Describe the lien
                                                  Line of Credit
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6911
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Grand County Treasurer                      Describe debtor's property that is subject to a lien                        $589.72    $115,000.00
      Creditor's Name                             Inn at Silvercreek
                                                  62927 US Hwy 40 Unit 304
      PO Box 288                                  Granby, CO
      Hot Sulphur Springs, CO                     Parcel 145108310169
      80451
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
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Debtor       Sam's Service Co                                                                      Case number (if known)
             Name



       Small Business
2.8                                                Describe debtor's property that is subject to a lien                     $139,766.00           $351,635.19
       Adminstration
       Creditor's Name                             Substantially all assets of the Debtor
       409 3rd Street, SW
       Washington, DC 20416
       Creditor's mailing address                  Describe the lien
                                                   Secured Loan
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       11/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $3,869,949.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       8

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        David A. Laird
        Moye White                                                                                           Line   2.1
        1400 16th Street, 6th Floor
        Denver, CO 80202




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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Fill in this information to identify the case:

Debtor name        Sam's Service Co

United States Bankruptcy Court for the:         DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $20,241.00
          Elan Financial                                                       Contingent
          PO Box 790408                                                        Unliquidated
          Saint Louis, MO 63179                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 4541
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $567.04
          Grand County Treasurer                                               Contingent
          PO Box 288                                                           Unliquidated
          Hot Sulphur Springs, CO 80451                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 5150
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $25,000.00
          Karen Wagner                                                         Contingent
          14582 S Elk Creek                                                    Unliquidated
          Pine, CO 80470                                                       Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $21,933.38
          Xcel Energy                                                          Contingent
          414 Nicollett Mall                                                   Unliquidated
          Minneapolis, MN 55401
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 0512
                                                                            Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
                                                                                                          51109
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Debtor      Sam's Service Co                                                                    Case number (if known)
            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                 Total of claim amounts
5a. Total claims from Part 1                                                                       5a.       $                           0.00
5b. Total claims from Part 2                                                                       5b.   +   $                      67,741.42

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.       $                            67,741.42




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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Fill in this information to identify the case:

Debtor name       Sam's Service Co

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Purchase and Sale
           lease is for and the nature of        Agreement for the real
           the debtor's interest                 property located at
                                                 1314 West Oxford
                                                 Avenue, Englewood,
                                                 Colorado 80110
               State the term remaining                                             Embry Partners, LLC
                                                                                    7600 Broadway
           List the contract number of any                                          Suite 300
                 government contract                                                San Antonio, TX 78209


2.2.       State what the contract or            Listing contract
           lease is for and the nature of
           the debtor's interest
                                                                                    Tanner Fanello
               State the term remaining                                             Fuller and Co
                                                                                    5300 DTC Parkway
           List the contract number of any                                          Suite 100
                 government contract                                                Englewood, CO 80111




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Sam's Service Co

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Larry Olander               11972 Crabapple                                           FinishMaster, Inc.                 D
                                      Franktown, CO 80116                                                                          E/F
                                                                                                                                   G




   2.2    Larry Olander               11972 Crabapple                                           BlueVine                           D
                                      Franktown, CO 80116                                                                          E/F
                                                                                                                                   G




   2.3    Larry Olander               11972 Crabapple                                           Fora Financial                     D
                                      Franktown, CO 80116                                                                          E/F
                                                                                                                                   G




   2.4    Larry Olander               11972 Crabapple                                           1314 W Oxford Ave                  D
                                      Franktown, CO 80116                                       LLC                                E/F
                                                                                                                                   G




   2.5    Larry Olander               11972 Crabapple                                           1314 W Oxford Ave                  D   2.1
                                      Franktown, CO 80116                                       LLC                                E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 3
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Debtor    Sam's Service Co                                                        Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Larry Olander            11972 Crabapple                                     Blue Vine                          D   2.4
                                   Franktown, CO 80116                                                                    E/F
                                                                                                                          G




  2.7     Larry Olander            11972 Crabapple                                     FinishMaster, Inc.                 D   2.5
                                   Franktown, CO 80116                                                                    E/F
                                                                                                                          G




  2.8     Larry Olander            11972 Crabapple                                     Fora Financial                     D   2.6
                                   Franktown, CO 80116                                                                    E/F
                                                                                                                          G




  2.9     Michael Chavez           4901 South Old Wadsworth #32                        FinishMaster, Inc.                 D
                                   Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.10    Michael Chavez           4901 South Old Wadsworth #32                        BlueVine                           D
                                   Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.11    Michael Chavez           4901 South Old Wadsworth #32                        Fora Financial                     D
                                   Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.12    Michael Chavez           4901 South Old Wadsworth #32                        1314 W Oxford Ave                  D
                                   Littleton, CO 80123                                 LLC                                E/F
                                                                                                                          G




  2.13    Michael Chavez           4901 South Old Wadsworth #32                        1314 W Oxford Ave                  D   2.1
                                   Littleton, CO 80123                                 LLC                                E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 3
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Debtor    Sam's Service Co                                                        Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    Michael Chavez           4901 South Old Wadsworth #32                        Blue Vine                          D   2.4
                                   Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.15    Michael Chavez           4901 South Old Wadsworth #32                        FinishMaster, Inc.                 D   2.5
                                   Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.16    Michael Chavez           4901 South Old Wadsworth #32                        Fora Financial                     D   2.6
                                   Littleton, CO 80123                                                                    E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 3
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Fill in this information to identify the case:

Debtor name         Sam's Service Co

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                               $820,930.05
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,628,756.87
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             Blue Vine                                                                             $30,000.00           Secured debt
             30 Montgomery St.                                                                                          Unsecured loan repayments
             Suite 1400
                                                                                                                        Suppliers or vendors
             NJ 07320
                                                                                                                        Services
                                                                                                                        Other



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Debtor       Sam's Service Co                                                                   Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.2.
             BOK Financial                                                                            $1,286.10          Secured debt
             101 E 2nd St                                                                                                Unsecured loan repayments
             Tulsa, OK 74103
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
             Fora Financial                                                                           $2,605.15          Secured debt
             1385 Broadway 15th Floor                                                                                    Unsecured loan repayments
             New York, NY 10018
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.4.
             Instamed                                                                                     $17.40         Secured debt
             1880 John F. Kennedy Blvd                                                                                   Unsecured loan repayments
             12 Floor                                                                                                    Suppliers or vendors
             Philadelphia, PA 19103                                                                                      Services
                                                                                                                         Other


      3.5.
             Ohio National Financial Services                                                         $2,710.60          Secured debt
             PO Box 237                                                                                                  Unsecured loan repayments
             Cincinnati, OH 45201-0237                                                                                   Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.6.
             Small Business Adminstration                                                             $2,193.00          Secured debt
             409 3rd Street, SW                                                                                          Unsecured loan repayments
             Washington, DC 20416
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.7.
             Xcel Energy                                                                                $619.84          Secured debt
             PO Box 9477                                                                                                 Unsecured loan repayments
             Minneapolis, MN 55484-9477                                                                                  Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   Michael Chavez                                        11/28/2022                       $50,000.00         Advance on Sale Proceeds
             4901 South Old Wadsworth #32
             Littleton, CO 80123
             Insider


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Debtor       Sam's Service Co                                                                   Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.2.   Michael Chavez                                        12/30/2022                       $27,666.80           Share of Sale Assets to Leo's
             4901 South Old Wadsworth #32                                                                                Autobody
             Littleton, CO 80123
             Insider

      4.3.   Michael Chavez                                        3/21/2023                          $2,769.74          Distribution of Funds from
             4901 South Old Wadsworth #32                                                                                Clsoing Bank of West Account
             Littleton, CO 80123
             Insider

      4.4.   Larry Olander                                         11/3/2022                          $5,000.00          Advance on Sale Proceeds
             11972 Crabapple
             Franktown, CO 80116
             Insider

      4.5.   Larry Olander                                         11/28/2022                       $50,000.00           Advance on Sale Proceeds
             11972 Crabapple
             Franktown, CO 80116
             Insider

      4.6.   Larry Olander                                         12/30/2022                       $13,833.20           Share of Sale Assets to Leo's
             11972 Crabapple                                                                                             Autobody
             Franktown, CO 80116
             Insider

      4.7.   Larry Olander                                         2/21/2023                        $20,000.00           Advance on Sale Proceeds
             11972 Crabapple
             Franktown, CO 80116
             Insider

      4.8.   Larry Olander                                         3/21/2023                          $1,303.41          Distribution of Funds from
             11972 Crabapple                                                                                             Closing Bank of West Account
             Franktown, CO 80116
             Insider

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
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Debtor        Sam's Service Co                                                                   Case number (if known)



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    FinishMaster, Inc. v. Sam's             FinishMaster, Inc.           Marion Superior Court 5                       Pending
              Service, Co. d/b/a Sam's                brought claims for           675 Justice Way                               On appeal
              Automotive, Michael T.                  Breach of                    Indianapolis, IN 46203
                                                                                                                                 Concluded
              Chavez, and Larry R. Olander            Contract, Breach
              49D05-2305-PL-020565                    of Guaranty, and
                                                      Unjust
                                                      Enrichment


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Aaron Garber
               2580 S. Main St
               Littleton, CO 80120                                                                                                                $25,000.00

               Email or website address


               Who made the payment, if not debtor?
               Michael Chavez



12. Self-settled trusts of which the debtor is a beneficiary
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Debtor      Sam's Service Co                                                                     Case number (if known)



    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value
      13.1 unkown                                      2001 Chevrolet Silverado 2500; VIN:
      .                                                1GCHK24G61E259404; Sold for Cash                                                           $3,000.00

             Relationship to debtor
             third party


      13.2                                             1997 International FlatBed Tow Truck;
      .    Unknown                                     VIN: 1HTSCAAM8VH478413; Sold for
                                                       Cash                                                                                       $8,000.00

             Relationship to debtor
             third party


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
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Debtor        Sam's Service Co                                                                   Case number (if known)



    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    ADP 401K                                                                            EIN: 282892

                    Has the plan been terminated?
                       No
                       Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    BOK Financial                            XXXX-0796                     Checking                 4/30/2023                                  $0.00
               PO Box 5945                                                            Savings
               Denver, CO 80217
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.2.    Bank of the West                         XXXX-2530                     Checking                 3/21/2023                             $4,073.15
               PO Box 2830                                                            Savings
               Omaha, NE 68103
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?




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Debtor      Sam's Service Co                                                                    Case number (if known)



      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      Chavez Ranch                                          Michael Chavez                        Company Paperwork for last                    No
      9102 Warriors Mark                                                                          3 years                                       Yes
      Franktown, CO 80116



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None




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Debtor      Sam's Service Co                                                                    Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Karen Wagner                                                                                                       11/4/2019 - present
                    14582 S Elk Creek
                    Pine, CO 80470
      26a.2.        Gary Bayer & Co                                                                                                    1979-2023
                    2121 S Oneida St, #400
                    Denver, CO 80224

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Gary Bayer & Co                                                                                                    1979-2023
                    2121 S Oneida St #400
                    Denver, CO 80224

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Michael Chavez
                    4901 S Old Wadsworth #32
                    Littleton, CO 80123

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        BOK Financial
                    1600 Broadway 26th Floor
                    Denver, CO 80202
      26d.2.        William Hood
                    5960 E Fair Ave
                    Englewood, CO 80111
      26d.3.        Kresher Capital
                    333 SE 2nd Ave, Suite 6588
                    Miami, FL 33131

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

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Debtor      Sam's Service Co                                                                   Case number (if known)



             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Micheal T. Chavez                      4901 S Old Wadsworth #32                            President                               66.667
                                             Littleton, CO 80123

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Larry Olander                          11972 Crabapple                                     Vice President                          33.3333
                                             Franktown, CO 80116



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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Debtor      Sam's Service Co                                                                    Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 23, 2023

/s/ Michael T. Chavez                                           Michael T. Chavez
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 10
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                                                      United States Bankruptcy Court
                                                                    District of Colorado
 In re    Sam's Service Co                                                                                        Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Larry Olander                                                                     33.333
11972 Crabapple
Franktown, CO 80116

Michael Chavez                                                                    66.667%
4901 S. Old Wadsworth #32
Littleton, CO 80123


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 23, 2023                                                     Signature /s/ Michael T. Chavez
                                                                                        Michael T. Chavez

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                           District of Colorado
 In re    Sam's Service Co                                                                        Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     August 23, 2023                                /s/ Michael T. Chavez
                                                         Michael T. Chavez/President
                                                         Signer/Title
